                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           WINSTON-SALEM DIVISION

                                  Civil Action No: 1:15-cv-599
FREDDIE WAYNE HUFF, II,                             )
                                                    )
     Plaintiff,                                     )
v.                                                  )
                                                    )
NORTH CAROLINA DEPARTMENT OF                        )
PUBLIC SAFETY, an agency of North                   )
Carolina; DIVISION OF STATE HIGHWAY                 )
                                                    )      CIVIL COMPLAINT
PATROL, a principal subunit of an agency of
                                                    )   (JURY TRIAL DEMANDED)
the State of North Carolina; FRANK L.               )
PERRY, in his official capacity as Secretary of     )
the Department of Public Safety and                 )
individually; WILLIAM J. GREY, in his               )
official capacity as Commanding Officer of the      )
Division of State Highway Patrol and                )
individually; JENNIFER A. HARRIS, in her            )
official capacity as the Director of Professional   )
Standards for the Division of State Highway         )
Patrol and individually; and JOSEPH A.              )
COTTON, in his official capacity as the             )
                                                    )
Director of Internal Affairs with the Division of
                                                    )
State Highway Patrol and individually,              )
                                                    )
      Defendants                                    )
                                                    )
                                                    )




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                               NATURE OF ACTION

1.   This is a civil action for damages and injunctive relief under the First and

     Fourteenth Amendments to the United States Constitution; Article I, §§1, 19, 35,

     and 36 of the North Carolina State Constitution; as well as 42 U.S.C. §1983; and

     North Carolina State and Common Law; arising from the unjust, arbitrary and

     capricious discipline and termination of a North Carolina State Trooper arising

     from political patronage but given the pre-textual cause of the sale of state-issued

     shoes.

2.   From March 16, 2014 to the present, Defendants, individually and in concert or

     conspiracy, have, with deliberate or reckless indifference, disciplined and

     terminated a State Trooper without a complete investigation, with charges utterly

     unsupported by the information received in the incomplete investigation, and

     without due process.

3.   Plaintiff is informed and believes that this unjust and unreasonable termination

     arises from a Driving While Impaired stop involving a politically-connected

     individual, an individual who threatened Plaintiff’s job should he be charged.

     Plaintiff performed his duty as a State Trooper, field-testing and charging the

     individual for Driving While Impaired. Less than twenty-five days later, Plaintiff

     was terminated from the North Carolina Department of Public Safety, Division of

     State Highway Patrol. Plaintiff was informed and believes that the order for his




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     termination came from outside the Highway Patrol, outside of normal Highway

     Patrol procedure.

4.   Defendants, individually and in concert or conspiracy, have with deliberate or

     reckless indifference, stigmatized Trooper Huff with a baseless termination, using

     pre-textual charges arising from the sale of a state-issued pair of shoes to defer the

     costs of higher-quality shoes; a common practice among State Troopers and a

     unwritten policy Troopers are informed of in Trooper School.

5.   Defendants, individually and in concert or conspiracy, with deliberate or reckless

     indifference, administratively entered the pre-textual charges into Trooper Huff’s

     personnel file and employment record, including accusations of theft on a State

     Property Incident Report and allegations of potential criminal action or potential

     misconduct sent in a report to the Criminal Justice Education and Training

     Standards Division; preventing Trooper Huff from finding other work as a law

     enforcement officer; a field Trooper Huff has worked in for over ten years, with

     awards and recognition for his service.

6.   As a result of Defendants’ actions, Plaintiff has suffered deprivations of the rights

     to liberty and property guaranteed to him under the First and Fourteenth

     Amendments to the United States Constitution; Article I, §19 of the North

     Carolina Constitution; North Carolina State Law and Common Law. Plaintiff has

     suffered deprivation of his employment, harm to his reputation, incurred legal fees




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     fighting Defendants in administrative proceedings, and cannot find future

     employment in the field Plaintiff has dedicated his life to.

7.   Moreover, as Defendants’ policies, customs, and practices allow for constitutional

     deprivations to life and liberty, in violation of fundamental rights, Plaintiff seeks

     an entry of an Order and Permanent Injunction as set forth in detail below, to

     prevent such unjust and arbitrary actions from happening in the future.




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                            JURISDICTION AND VENUE

8.    This action arises under the First and Fourteenth Amendments to the United States

      Constitution; Article I, §19, of the North Carolina State Constitution; as well as 42

      U.S.C. §1983; and North Carolina State and Common Law.

9.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1331, as this Plaintiff

      alleges complaints arising from the United States Constitution and Federal law.

10.   Supplemental Jurisdiction over state law claims are proper pursuant to 28 U.S.C.

      §1367(a) because they are part of the same case and controversy described by

      Plaintiff’s federal claims.

11.   Venue is proper in the Middle District of North Carolina pursuant to 28 U.S.C.

      §1391, as this is the judicial district in which a substantial part of the events giving

      rise to the claim occurred.

                                        PARTIES

12.   Plaintiff, Freddie Wayne Huff, II (herein “Plaintiff” or “Trooper Huff”) is a citizen

      and resident of Forsyth County, North Carolina.

13.   Defendant North Carolina Department of Public Safety (individually “NCDPS”

      and collectively “Defendants”) is a state agency within the government of North

      Carolina, and is organized and exists pursuant to, and limited by, N.C. Gen. Stat.

      §143B, Articles 1 and 13, et. seq., and is empowered to sue and be sued.

14.   Defendant Division of State Highway Patrol (individually “SHP,” collectively

      “Defendants”) is a principal subunit of the Department of Public Safety organized

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      and exists pursuant to, and limited by, N.C. Gen. Stat. §143A-242 and N.C. Gen.

      Stat., Chapter 20, article 4, et. seq., and is empowered to sue and be sued.

15.   Defendant Frank L. Perry (individually “Secretary Perry” and collectively

      “Defendants”) is the Secretary of the Department of Public Safety and as such is

      the head of a State Department, agency or institution, pursuant to N.C. Gen. Stat

      §143B-600 and $20-184. Secretary Perry, served in a supervisory and/or policy-

      making role for the Department and it all time relevant acted under color of state

      law in carrying out his duties and responsibilities. Upon information and belief,

      Secretary Perry is, and has been at all times relevant to this action, a citizen and

      resident of North Carolina.

16.   Defendant Colonel William J. Grey (individually “Colonel Grey” and collectively

      “Defendants”) is the Commanding Officer of the Division of State Highway

      Patrol, and as such is the head of a state department, agency or institution,

      pursuant to N.C. Gen. Stat. §143B-11 and §20-185, and as such has supervisory

      and/or policymaking role for the SHP, and all times relevant acted under color of

      state law in carrying out his duties and responsibilities. Upon information and

      belief, Colonel Grey is and has been, and at all times relevant to this action, a

      citizen and resident of North Carolina.

17.   Upon information and belief, Defendant Jennifer A. Harris (individually “Major

      Harris” and collectively “Defendants”) is the Director of the Professional

      Standards Division of the Division of State Highway Patrol, and as such, at all

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      relevant times herein, exercised supervisory authority of Plaintiff, pursuant to N.C.

      Gen. Stat. §143B-11 and in this capacity serves in a supervisory and/or

      policymaking role for the SHP, and at all times relevant, acted under color of state

      law in carrying out her duties and responsibilities. Upon information and belief,

      Major Harris is and has been, at all times relevant, a citizen and resident of North

      Carolina.

18.   Upon information and belief, Defendant Joseph A. Cotton (individually “Captain

      Cotton” and collectively “Defendants”) is the Director of Internal Affairs Division

      of the State Highway Patrol, and as such, at all relevant times herein, exercised

      supervisory authority over Plaintiff, pursuant to N.C. Gen. Stat. §143B-11 and as

      such served in a supervisory and/or policymaking role for the SHP and at all times

      relevant, acted under color of state law in carrying out his duties and

      responsibilities. Upon information and belief, Captain Cotton is and has been, at

      all times relevant, a citizen and resident of North Carolina.

19.   Defendants Secretary Perry, Colonel Grey, Major Harris, and Captain Cotton are

      also referred collectively herein as the “Supervisory Defendants.”

                        ADMINISTRATIVE PROCEDURES

20.   On April 21, 2014 Petitioner Freddie Huff was terminated from employment as a

      Trooper with the State Highway Patrol. Plaintiff was not allowed to complete the

      grievance procedure described in N.C. Gen. Stat. §126 – 34.02 prior to filing in

      the Office of Administrative Hearings (hereinafter “OAH”). Petitioner requested

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       the internal grievance procedure with the North Carolina Department of Public

       Safety, however was denied due to allegations by the Defendants that Trooper

       Huff was not a career state employee.

21.    On May 12, 2014, Trooper Huff filed a contested case petition with the OAH, and

       after several motions, Administrative Law Judge J. Randall May found on October

       17, 2014, that as the internal grievance process was not completed, the OAH

       lacked jurisdiction to hear the case on the merits and stayed consideration until the

       parties completed the internal grievance process.

22.    The parties completed the internal grievance process, with a Final Agency

       Decision issued by NCDPS Commissioner Gregory K. Baker, and approved by the

       Office of State Human Resources. Commissioner Baker found that Trooper Huff

       was not a career state employee as required for internal grievance, and reiterated

       the reasons the NCDPS gave for the termination. Commissioner Baker, in his

       decision, stated that as Trooper Huff is not a career state employee, there could be

       no appeal of the Commissioner’s decision.

23.    The case returned to the OAH, with Motions for Summary Judgment from both

       parties. On February 16, 2015, Administrative Law Judge J. Randall May granted

       NCDPS’s Motion for Summary Judgment, with no stated findings of fact or

       conclusions of law on which to base the ruling.




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24.    Trooper Huff has appealed the Final Decision Order Granting Respondent’s

       Motion for Summary Judgment to the North Carolina Court of Appeals, however

       files this lawsuit in a timely manner to protect his Constitutional rights.

                              FACTUAL BACKGROUND

25.    Trooper Huff worked for the Lexington (NC) Police Department from March 24,

       2003 through March 5, 2013. While a Lexington Police Officer, Trooper Huff

       received several national awards for drug interdiction and has given training

       presentations for the Los Angeles Police Department, San Diego Sheriff’s Office,

       DEA, Royal Canadian Mounted Police, and the U.S. Border Patrol on passenger

       and commercial vehicle criminal interdiction.

26.    While a Lexington Police Officer, Trooper Huff received mandatory training from

       the Federal Emergency Management Agency, to assure the Lexington Police

       Department received grants for the benefit of the Davidson Emergency

       Management Agency. This training included a class on incident management,

       incident command systems, and the national incident management system. This

       training was required for police officers to ensure federal grant-in-aid funds.

27.    Trooper Huff started with the North Carolina State Highway Patrol on March 21,

       2013. During SHP training, Trooper Huff was told that the state-issued patrol

       shoes could be traded in at Bob’s Army Navy Surplus Store in Raleigh, NC, for

       higher-quality Chukka boots. These boots were more expensive that the state-




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       issued shoes, so Troopers sell the shoes to Bob’s Army Navy Surplus and pay the

       additional price difference for the boots.

28.    Once out of Trooper School, Trooper Huff wore one pair of the state-issued shoes

       which fell apart. Trooper Huff decided to buy the Chukka boots to wear on duty,

       and offered for sale a pair of his state-issued shoes valued at $37.94 on E-Bay.

29.    Trooper Huff chose not to take the shoes to Bob’s Army Navy Surplus in Raleigh,

       as it was a two-hour drive, and he was already somewhat familiar with eBay.

       Trooper Huff intended the sale of shoes to defray the cost of the new, better-

       quality Chukka boots. However, Trooper Huff forgot to set the reserve for the

       auction and ended up selling the shoes for less than intended. It cost Trooper Huff

       more money to ship the shoes than the shoes were sold for.

30.    Even though the shoes sold for less than the shipping required to deliver them,

       Trooper Huff shipped the shoes to the buyer, and at his own cost bought a pair of

       the higher-quality Chukka boots, which he then wore on patrol with the SHP.

31.    In January of 2014, Trooper Huff was informed of a complaint against him,

       arising from an incident on January 11, 2014, in which a civilian was found

       driving a white Crown Victoria with a SHP “campaign” hat including a hat badge.

       Internal Affairs Officers Lt. Donna Carter and Sgt. Snotherly determined that

       Webster had recently purchased the hat from Trooper Huff on eBay.

32.    Trooper Huff is an avid collector of police badges and memorabilia, and has been

       from the age of eighteen. Trooper Huff’s badge collection alone is worth

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       approximately $30,000. Trooper Huff used an Ohio address on internet auctions to

       protect his privacy and his collection.

33.    The SHP has no policy against collecting or trading badges or other Trooper

       Memorabilia. There are Troopers, including some officers in Internal Affairs, who

       do not believe that badges or hats should be traded, as an individual should earn

       the right to own the insignia of the Highway Patrol.

34.    Internal Affairs reviewed Trooper Huff’s eBay account history and determined

       Trooper Huff sold the hat in question (with hat badge), belts, cloth uniform badge,

       and the single pair of state-issued shoes. At this point Internal Affairs met with

       Trooper Huff for questioning on January 16, 2014.

35.    During questioning, Trooper Huff offered access to his eBay account so the

       investigators could see exactly what he sold. The investigation included a

       discussion about the belts Trooper Huff sold, with Trooper Huff informing

       Internal Affairs that the belts were not state-issued but bought off of Amazon,

       Trooper Huff also explained that the hat and badge were bought separately on-

       line, and that Trooper Huff had reconditioned the hat adding the hat badge, then

       sold the hat on-line. None of the items other than the shoes had been issued by the

       State of North Carolina.

36.    There was some confusion in the initial Internal Affairs interview regarding the

       shoes, as the investigators felt they asked about state-issued shoes when Trooper

       Huff thought they were asking about state-issued belts and uniforms. The

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       questions about belts and badges occurred after Trooper Huff volunteered to allow

       Internal Affairs to access his eBay account. Additionally, when asked directly

       about the shoes in the same conversation, Trooper Huff admitted to selling the

       shoes on-line to buy the higher-quality boots. Trooper Huff later clarified that he

       believed buying his own shoes and selling the state-issued shoes on eBay were the

       functional equivalent of exchanging the shoes at Bob’s Army Navy Surplus, which

       he had been told in Trooper School was acceptable behavior.

37.    Immediately after his recorded interview with Internal Affairs, Trooper Huff and

       Lt. Carter went to Lt. Carter’s computer, where Trooper Huff accessed his eBay

       account and allowed Lt. Carter to review his purchase and sales history, as he had

       offered during the interview.

38.    Trooper Huff is informed and believes at no point in the internal investigation did

       Internal Affairs contact Bob’s Army Navy Surplus to confirm Troopers were

       regularly selling state-issued shoes to buy higher quality Chukka Boots, nor did

       Internal Affairs ask other Troopers if state-issued shoes were being sold at Bob’s

       Army Navy Surplus.

39.    After several days, Trooper Huff learned he had been charged with a violation

       involving unserviceable non-exchangeable items and was told by one Captain

       Hayes he was not likely to be suspended though he might receive a letter of

       reprimand. At this point, Trooper Huff returned to full patrol duties, for

       approximately three more months.

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40.    While on duty on approximately March 16, 2014, Trooper Huff pulled over an

       intoxicated driver in downtown Winston-Salem. That individual was difficult

       during the roadside sobriety test, and repeatedly asked Trooper Huff to give him

       enough time to “beat the breathalyzer” or to just let him go. At one point during

       the stop, the individual threatened Trooper Huff, telling Trooper Huff that the

       individual was a friend of the governor and that individual would have Trooper

       Huff’s job if Trooper Huff proceeded with the stop. Trooper Huff ignored the

       individual’s threat and charged him with Driving While Impaired after the subject

       failed the field sobriety test and the Intoxilyzer.

41.    On April 10, 2014, just twenty-five days after charging that politically connected

       individual with a DWI, Major Harris sent a report to Colonel Grey adding two

       additional charges to add to Trooper Huff’s charge of unserviceable items. Major

       Harris added a violation to the SHP’s Truthfulness Directive and a Violation of the

       SHP’s Conformance to Laws Directive. In this memo, Major Harris recommends

       that Trooper Huff be terminated. Colonel Grey approved the Major’s decision to

       terminate Trooper Huff.

42.    On April 21, 2014, Trooper Huff was terminated from his position with the SHP.

       The stated reason for the termination was Trooper Huff’s sale of state-issued shoes

       on eBay and for allegedly being untruthful in the Internal Affairs Interview.

43.    On April 23, Captain Cotton filed a State Property Incident Report for theft, listing

       Trooper Huff’s selling the shoes on eBay. Lieutenant Colonel Bell filed an

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       Affidavit of Separation Law Enforcement Officer with the Criminal Justice

       Education and Training Standards Division stating: (i) that Trooper Huff was

       dismissed on April 21, 2014, (ii) the SHP was aware of an investigation

       concerning potential criminal action or potential misconduct, and (iii) that Trooper

       Huff sold a pair of state-issued shoes on eBay in violation of SHP Policy.

44.    After his termination, Trooper Huff contacted the Forsyth County District

       Attorney’s Office about his pending cases that had not yet been to trial, and

       learned that the SHP contacted the District Attorney’s Office, purportedly on

       behalf of Trooper Huff, and as a result the case against the politically connected

       individual and approximately one hundred (100) other DWI arrests in Forsyth

       County had been dismissed.

45.    In a conversation with a superior officer about the termination, Trooper Huff was

       told that the decision to terminate came from higher up, outside of the Highway

       Patrol. Trooper Huff is informed and believes that the order for termination came

       through Secretary Perry, from the Governor’s Office.

46.    Trooper Huff has been informed and believes that after his termination and as late

       as June 2014, Bob’s Army Navy Surplus in Raleigh, North Carolina, was still

       buying state-issued shoes and selling troopers Chukka boots in exchange. Trooper

       Huff is informed and believes at one point Bob’s had to stop taking state-issued

       shoes due to having more shoes issued to troopers than Bob’s could sell.




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47.    Trooper Huff filed a timely petition for a contested case hearing with the OAH.

       Defendants challenged Trooper Huff’s ability to grieve, alleging that Trooper Huff

       was not a “career state employee” pursuant to N.C. Gen. Stat. §126-1.1(a)(2), as

       he did not have twenty-four (24) months of service with the SHP.

48.    Trooper Huff based his ability to file the petition on the exception granted in N.C.

       Gen. Stat. §126-5(a)(2)(d) as an “employee of an emergency management agency”

       rather than his length of service with the N.C. State Highway Patrol.

49.    N.C. Gen. Stat. §166A-19.3(9) which defines emergency management agency as a

       state or local governmental agency charged with the coordination of all emergency

       management activities for its jurisdiction.

50.    N.C. Gen. Stat. §166A-19.60, in discussing immunity and liability states that all

              “functions hereunder and all other activities relating to
              emergency management as provided for in this Chapter or
              elsewhere in the General Statutes are hereby declared to be
              governmental functions. Neither the State nor any political
              subdivision thereof, nor, except in cases of willful
              misconduct, gross negligence, or bad faith, any emergency
              management worker, firm, partnership, association, or
              corporation complying with or reasonably attempting to
              comply with this Article or any order, rule, or regulation
              promulgated pursuant to the provisions of this Article or
              pursuant to any ordinance relating to any emergency
              management measures enacted by any political subdivision of
              the State, shall be liable for the death of or injury to persons,
              or for damage to property as a result of any such activity.”

51.    The definition of emergency management worker in this section includes “any full

       or part time paid, volunteer, or auxiliary employee of this State … or of any

       political subdivision thereof, or of any agency or organization performing

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       emergency management services at any place in this State, subject to the order or

       control of or pursuant to a request of the State government or any political

       subdivision thereof.” N.C. Gen. Stat. §166A-19.60(e).

52.    Trooper Huff on many occasions as a Lexington Police Officer served at the

       direction of the Davidson county Emergency Management Director.

53.    Trooper Huff also filed for unemployment benefits, and after an extended process

       through the Employment Security Commission, including appeals, Appeals

       Referee Loyall Corey, Jr. with the Employment Security Commission found that

       Trooper Huff was discharged from the SHP for selling his state-issued shoes on

       eBay, and that the SHP had allowed others to sell state-issued shoes at Bob’s

       Army Navy Surplus. Referee Corey concluded that Trooper Huff was not

       disqualified for unemployment benefits, even though the Employment Security

       Act states that an employee is disqualified from unemployment benefits when he

       is discharged for willful misconduct connected with his work. Referee Corey’s

       decision was overturned by the Board of Review, however Referee Corey’s

       decision that Trooper Huff was not disqualified for unemployment benefits was

       affirmed by a Superior Court Division in Davidson County upon judicial review.

54.    Trooper Huff is informed and believes that he has not been able to find other work

       as a law enforcement officer due to the reasons for termination given in his

       separation and now a part of his employment record, to wit, dishonesty and

       nonconformance to laws.

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                                 CLAIMS FOR RELIEF

                 A. FIRST CLAIM FOR RELIEF: EQUAL PROTECTION
                              - DISPARATE TREATMENT

55.    Plaintiff re-alleges and incorporates paragraphs 1 through 54 as if fully restated

       herein.

56.    Trooper Huff worked for Lexington Police Department for thirteen years receiving

       multiple Federal Emergency Management Agency certifications, and the SHP for

       thirteen months.

57.    N.C. Gen. Stat. §166A-19.3(9) which defines emergency management agency as a

       state or local governmental agency charged with the coordination of all emergency

       management activities for its jurisdiction.

58.    The definition of emergency management worker in this section includes “any full

       or part time paid, volunteer, or auxiliary employee of this State … or of any

       political subdivision thereof, or of any agency or organization performing

       emergency management services at any place in this State, subject to the order or

       control of or pursuant to a request of the State government or any political

       subdivision thereof.” N.C. Gen. Stat. §166A-19.60(e).

59.    Trooper Huff, when adding his time as a Lexington Police Officer and with the

       SHP, would qualify as a career state employee, with a property interest in his

       continued employment with the Division.




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60.    The right to work and earn a livelihood is a property right that cannot be taken

       away except under the police power of the State in the Paramount public interest

       for reasons of health, safety, moral, or public welfare. Damage to Trooper Huff’s

       standing in the community by adding charges of theft or potential criminal activity

       into Trooper Huff’s personnel record forecloses upon the freedom to continue to

       work in the law enforcement field, impacting his substantial interest in liberty.

61.    The Equal Protection Clause of Art. I, §19 of the North Carolina Constitution and

       the Equal Protection Clause of §1 of the Fourteenth Amendment to the United

       States Constitution forbid Defendants from denying Trooper Huff the equal

       protection of the laws, and require all similarly situated Troopers be treated alike.

62.    Article I, §1 of the North Carolina State Constitution holds all people in North

       Carolina to be equal, with equal inalienable rights. Article I, §§ 35-36 speaks to

       the fundamental principles which are absolutely necessary to preserve liberty and

       the protection of rights not enumerated in the Constitution. All of these

       Constitutional provisions protect against the deprivation of fundamental rights.

63.    42 U.S. Code §1983 allows for civil action by Trooper Huff, for violations of his

       civil rights under the North Carolina and United States Constitutions.

64.    Trooper Huff was similarly situated to other SHP Troopers who sold their shoes to

       buy higher quality Chukka boots.

65.    Trooper Huff was similarly situated to other SHP Troopers who made reasonable

       mistakes in balancing written and unwritten policies of the SHP.

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66.    Trooper Huff was given a different and much more severe penalty for an alleged

       minor infraction than similarly situated Troopers of the SHP.

67.    Trooper Huff is informed and believes the disparate treatment arises from Trooper

       Huff charging a politically connected individual with a DWI, and North Carolina

       does not allow for political patronage decisions pertaining to positions that are not

       policy-making positions or where political affiliation is not an appropriate

       requirement for the position. Trooper Huff is informed and believes that he was

       treated differently than Troopers who have not charged politically-connected

       individuals with a DUI.

68.    Trooper Huff performed his duties as a North Carolina State Trooper, and was not

       serving in a policy-making position, nor is political affiliation an appropriate

       requirement for the position of State Trooper, putting Trooper Huff in a class of

       employees protected from political patronage decisions.

69.    Trooper Huff had a reasonable belief that he could sell state-issued shoes as long

       as funds from the sale went to buy more expensive, Chukka boots. Trooper Huff

       was informed in Trooper School Troopers could exchange their shoes at Bob’s

       Army Navy Surplus for Chukka boots, with the additional cost paid for by the

       Troopers. Trooper Huff sold his state-issued shoes on eBay and bought a more

       expensive, higher-quality pair of Chukka boots.




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70.    During the Internal Affairs Investigation, Trooper Huff informed Internal Affairs

       of the unwritten policy allowing for sale of the shoes, a policy he first learned of

       while training in Trooper School.

71.    Even after being informed of the unwritten policy in the internal investigation,

       Defendants did not investigate Trooper Huff’s claims, as Trooper Huff is informed

       and believes no one in Internal Affairs contacted Bob’s Army Navy Surplus to

       confirm that Troopers were exchanging state-issued shoes, nor is there any

       evidence Internal Affairs questioned any other Trooper as to whether they sold

       shoes to Bob’s Army Navy Surplus.

72.    Trooper Huff is informed and believes that Troopers have sold their state-issued

       shoes at Bob’s Army Navy Surplus to buy Chukka boots without penalty for

       misconduct, letters of reprimand, or termination; and is informed and believes the

       sale of shoes by Troopers began prior to his employment with the SHP and

       continued past his date of termination.

73.    After meeting with Internal Affairs, Trooper Huff was informed and believed he

       would receive a reprimand for selling the shoes. The only charge listed after the

       Internal Affairs interview involved unserviceable non-exchangeable items, and

       Trooper Huff continued to perform his job as a State Trooper on full duty.

74.    Approximately three months after the investigation interview with Trooper Huff,

       and only twenty-five days after stopping and charging an individual who Trooper

       Huff is informed and believes to be politically-connected, a man who threatened

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       Trooper Huff’s job through his political connections, Trooper Huff was terminated

       from the SHP.

75.    Trooper Huff was terminated for administrative charges arising from selling one

       pair of state-issued shoes worth $34.97 on eBay, to buy higher-quality, more

       expensive Chukka boots, which he wore on duty with the SHP, unlike similarly

       situated troopers who sold state-issued shoes to buy higher-quality Chukka boots.

76.    Trooper Huff’s termination brought with it the additional charges added by Major

       Harris and approved by Commander Grey, for untruthfulness and nonconformance

       with laws. After his termination, Defendants either placed or ratified the

       placement of the allegation of theft into his employment record by filing the State

       Property Incident Report and alleging potential criminal action or potential

       misconduct in the Huff’s personnel file pertaining to the eBay incident.

77.    After his termination, Trooper Huff was informed and believes that the order for

       termination came from outside the Highway Patrol, as it would if his termination

       was due to political patronage, and would constitute a departure from normal SHP

       procedures. Trooper Huff is informed and believes the order came “from the

       Dobbs Building,” outside of the State Highway Patrol, and alleging that it was a

       political order coming through Secretary Perry’s office.

78.    Trooper Huff is informed and believes that he was treated differently than the

       similarly situated Troopers who sold state-issued shoes at Bob’s Army Navy

       Surplus, in that he was terminated from his position.

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79.    Defendants refused Trooper Huff the ability to grieve his termination through

       administrative procedures until Trooper Huff filed with the Office of

       Administrative Affairs (“OAH”). After the contested case was put on hold to

       allow time for grievance, Trooper Huff was allowed to grieve his termination

       internally, however the SHP, the division responsible for his termination, found

       that termination to be for just cause. Trooper Huff is still arguing for procedural

       due process administratively, at his own expense.

80.    Defendants fought Trooper Huff’s claims for unemployment all the way to

       Superior Court, where Trooper Huff, after much personal expense, was found

       eligible for unemployment as his discharge was not for willful misconduct.

81.    In terminating Trooper Huff for untruthfulness and non-conformance to law,

       Defendants have severely limited Trooper Huff’s opportunities to work in law

       enforcement, as charges of dishonesty severely impact a law enforcement officer’s

       reputation, stigmatizing the plaintiff.

82.    Defendants have engaged in the policy or practice of selectively enforcing

       regulations by disciplining Trooper Huff for the sale of state-issued shoes on the

       internet while allowing other similarly situated State Troopers to exchange state-

       issued shoes at Bob’s Army Navy Surplus.

83.    The degree of discipline administered by the SHP is not reasonably related to the

       seriousness of Trooper Huff’s infraction or supported by Trooper Huff’s service

       record. Termination for an infraction that is not notorious, does not impact the

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       reputation of the SHP, and does not impact Trooper Huff’s ability to do the job is

       unreasonable when taken into consideration that Troopers sell shoes regularly at

       Bob’s Army Navy Surplus.

84.    The actions Trooper Huff were allegedly terminated for are not notorious, do not

       impact the reputation of the SHP, nor do they impact Trooper Huff’s ability to do

       his job, and this can be seen through the fact that Trooper Huff was not taken off

       patrol during or after the investigation nor do other Troopers who sell shoes

       receive reprimand or disciplinary actions.

85.    Captain Cotton and Major Harris were, at all relevant times, responsible and

       involved with the Internal Affairs investigation and Major Harris recommended

       the additional charges and Trooper Huff’s termination, while carrying out their

       official responsibilities for the SHP. That termination was approved by

       Commander Grey and Secretary Perry. Supervisory Defendants chose the charges,

       did an incomplete investigation of the charges, and terminated Trooper Huff under

       color of state law.

86.    Defendants knew or should have known an incomplete investigation could lead to

       an unjust termination, especially if the request to terminate came from outside of

       the SHP, from the Governor’s Office through Secretary Perry.

87.    Trooper Huff is informed and believes that the Supervisory Defendants and other

       officials in the DPS and SHP had contemporaneous knowledge that Trooper Huff




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       was being terminated due to an order from outside the regular chain of command,

       and after an incomplete investigation.

88.    A termination command from outside of the chain of command, after an

       incomplete internal investigation, is plainly obvious to a reasonable policy-maker

       as a violation of Trooper Huff’s constitutional rights and are actions taken in bad

       faith.

89.    The Supervisory Defendants knew or should have known about these actions and

       nevertheless agreed upon, or ratified by their behavior, this unconstitutional

       conduct.

90.    As a direct and foreseeable consequence of the Defendants’ actions , Trooper Huff

       was deprived of his constitutional right to equal protection, to

91.    Defendants’ incomplete investigation, an unjust and unreasonable discipline that

       treats Trooper Huff differently than other similarly situated Troopers, and his

       termination in violation of equal protection laws are direct and proximate causes

       of damage to the Plaintiff, in an amount in excess of $75,000, the exact amount to

       be determined at trial.

                         B. SECOND CLAIM FOR RELIEF:
                     VIOLATION OF PROCEDURAL DUE PROCESS

92.    Plaintiff re-alleges and incorporates paragraphs 1 through 91 as if fully restated

       herein.




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93.    Trooper Huff, when adding his time as a Lexington Police Officer and with the

       SHP, would qualify as a career state employee, with a property interest in his

       continued employment with the SHP.

94.    The right to work and earn a livelihood is a property right that cannot be taken

       away except under the police power of the State in the Paramount public interest

       for reasons of health, safety, moral, or public welfare.

95.    The Law of the Land clause of Art. I, §19 of the North Carolina Constitution and

       the Fifth and Fourteenth Amendment to the United States Constitution provide

       that Defendants cannot deprive Trooper Huff of his property right in employment

       without the due process of Law.

96.    The addition of the State Property Incident Report for theft and the notification to

       the Criminal Justice Education and Training Standards Division alluding to

       potential criminal action or potential misconduct adds a stigma to Trooper Huff’s

       personnel record, which forecloses upon his freedom to take advantage of other

       employment opportunities in the field of law enforcement and implicates Trooper

       Huff’s liberty rights.

97.    Trooper Huff was deprived of his right to continued employment when

       Defendants terminated Trooper Huff from the SHP, and entered the words theft

       and untruthfulness into his employment record.

98.    Defendants acted in bad faith and with a deliberate or reckless indifference to

       Trooper Huff’s procedural due process rights when the investigation was labeled

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        as complete and Trooper Huff was disciplined, even though Internal Affairs did

        not contact Bob’s Army Navy Surplus to confirm other Troopers were selling

        state-issued shoes nor did Internal Affairs question other Troopers in the SHP

        about the unwritten policy allowing Troopers to sell shoes that Troopers were

        informed of in Trooper School.

99.     Defendants acted in bad faith and with a deliberate or reckless indifference to

        Trooper Huff’s procedural due process rights when allowing an external source,

        outside of the SHP, to order Trooper Huff’s disciplinary termination, outside of

        standard department procedures.

100.    Defendants acted in bad faith with a deliberate or reckless indifference to Trooper

        Huff’s procedural due process rights by denying Trooper Huff the ability to grieve

        his termination pursuant to Defendants’ argument he is not a career state employee

        protected from terminations without just cause.

101.    Defendants have taken repeated action to deny Trooper Huff adequate post-

        termination grievance procedures, arguing his status should not be the “career state

        employee” thus having no protection against unreasonable discipline and unjust

        termination.

102.    Defendants have acted in bad faith and with deliberate or reckless indifference to

        Trooper Huff’s procedural due process rights by entering untruthfulness and theft

        allegations into his service record without an adequate pre-determination hearing.




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103.    The initial internal investigation focused solely on the sale of items on the internet,

        to which Trooper Huff admitted. The original items Defendants were concerned

        about: the “campaign” hat with badge, belt and uniform badges were found to be

        personal items bought and re-sold, not having been state-issued to Trooper Huff.

        Only the one pair of shoes were state-issued items. It was not until his termination

        that Trooper Huff was told of the additional charges, the charge of untruthfulness

        and conformance to laws.

104.    The addition of this stigma in his file regarding the sale of shoes, when other

        similarly situated Troopers regularly sell shoes at Bob’s Army Navy Surplus

        without discipline, without a complete investigation, also violates Trooper Huff’s

        due process rights and stigmatizes Trooper Huff, damaging his chance at future

        employment in the law enforcement field.

105.    Trooper Huff’s termination with the additional stigma of the chosen administrative

        charges levied represent a deprivation of Trooper Huff’s liberty rights without due

        process, as the administrative charges levied without a complete investigation or

        pre-levy hearing damage Trooper Huff’s reputation by imposing the stigma of

        theft upon Trooper Huff, thusly damaging Trooper Huff’s ability to work in the

        law enforcement field in the future.

106.    Trooper Huff is informed and believes that the Supervisory Defendants and other

        officials in the DPS and SHP had contemporaneous knowledge that Trooper Huff

        was being terminated due to an order from outside the regular chain of command.

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107.    A termination command from outside of the chain of command, after an

        incomplete internal investigation, is plainly obvious to a reasonable policy-maker

        as a violation of Trooper Huff’s constitutional rights and are actions in bad faith.

108.    The Supervisory Defendants knew or should have known about these actions and

        nevertheless agreed upon, or ratified by their behavior, this unconstitutional

        conduct.

109.    As a direct and foreseeable consequence of these policy decisions, Trooper Huff

        was deprived of his constitutional rights.

110.    Defendants’ wrongful termination in violation of Trooper Huff’s procedural due

        process rights is a direct and proximate cause of damage to the Plaintiff, in an

        amount in excess of $75,000, the exact amount to be determined at trial.

       C. THIRD CLAIM FOR RELIEF: VIOLATION OF SUBSTANTIVE DUE
                                PROCESS

111.    Plaintiff re-alleges and incorporates paragraphs 1 through 110 as if fully restated

        herein.

112.    Trooper Huff, when adding his time as a Lexington Police Officer and with the

        SHP, would qualify as a career state employee, with a property interest in his

        continued employment with the SHP.

113.    The right to work and earn a livelihood is a right that cannot be taken away except

        under the police power of the State in the Paramount public interest for reasons of

        health, safety, moral, or public welfare.


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114.    The Law of the Land clause of Art. I, §19 of the North Carolina Constitution and

        the Fifth and Fourteenth Amendment to the United States Constitution provide

        that Defendants cannot deprive Trooper Huff of his fundamental rights to property

        and liberty for an arbitrary or irrational reason.

115.    Trooper Huff was deprived of his property right to continued employment when

        Defendants terminated Trooper Huff from the SHP.

116.    Trooper Huff was deprived of his liberty rights to continued employment when

        Defendants made additional charges of untruthfulness and nonconformance to

        laws to his disciplinary action, and entered the sale of shoes as a theft on the state

        property incident forms.

117.    Defendants acted in bad faith and with a deliberate or reckless indifference to

        Trooper Huff’s substantive due process rights when the investigation was labeled

        as complete and Trooper Huff was disciplined, even though Internal Affairs did

        not contact Bob’s Army Navy Surplus to confirm other Troopers were selling

        state-issued shoes nor did Internal Affairs question other Troopers in the SHP

        about the unwritten policy allowing Troopers to sell shoes that Troopers were

        informed of in Trooper School.

118.    Defendants acted in bad faith and with a deliberate or reckless indifference to

        Trooper Huff’s substantive due process rights when allowing an external source,

        outside of the SHP, to order Trooper Huff’s disciplinary termination, which would

        not constitute normal SHP procedure.

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119.    Defendants have acted in bad faith and with deliberate or reckless indifference to

        Trooper Huff’s substantive due process rights by entering untruthfulness and theft

        allegations into his service record, in utter disregard of the incomplete

        investigation.

120.    The initial internal investigation focused solely on the sale of items on the internet,

        to which Trooper Huff admitted. The original items Defendants were concerned

        about: the “campaign” hat with badge, belt and uniform badges were found to be

        personal items bought and re-sold, not having been state-issued to Trooper Huff

        and not in violation of any policy or procedure. The only item left was the sale of

        shoes, which other similarly situated Troopers sold without penalty. It was not

        until his termination that Trooper Huff was told of the additional charges, the

        charge of untruthfulness and conformance to laws.

121.    Trooper Huff was not suspended from the SHP after his interview with Internal

        Affairs, and continued working as a State Trooper up until his termination.

122.    During the performance of his job duties, Trooper Huff stopped an individual for

        suspected driving while impaired, an individual who, upon information and belief,

        is politically connected and stated he would have Trooper Huff’s job if he was

        charged with a DUI.

123.    Trooper Huff has a duty to apprehend potential drunk drivers and charge those that

        meet the definitions of Driving While Impaired. It is the policy of the State of

        North Carolina to apprehend drunk drivers under N.C. Gen. Stat. §20-138.1 for

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        impaired driving and those found guilty of driving while impaired are convicted of

        a crime. Trooper Huff did his duty in accord with his job description and public

        policy, without thought or concern about the threats of his job arising out of the

        political patronage of the offender.

124.    Trooper Huff was in fact fired, less than three weeks after he was threatened with

        his job. Trooper Huff is informed and believes his termination was for performing

        his duty in apprehending the politically –connected intoxicated driver, not under

        the pretext given of the charges asserted by the Defendants.

125.    Trooper Huff has been informed and believes, the decision to terminate came from

        outside of the State Highway Patrol, outside of the regular chain of command.

126.    Trooper Huff has been informed and believes the SHP contacted Forsyth County

        concerning Trooper Huff’s termination, leading to the dismissal of approximately

        one hundred (100) charges written by Trooper Huff, including the politically

        connected individual charged with DWI.

127.    Trooper Huff’s termination, and the subsequent contact resulting in the dismissal

        of all those criminal charges, violates substantive due process in that terminating

        law enforcement officers for performing their job duties, such as stopping drunk

        drivers involving politically connected individuals, shocks the conscience and

        risks the integrity of the judicial system.

128.    Trooper Huff’s termination is a retaliation of a state employee based upon political

        affiliation, and a violation of the First Amendment of the United States

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        Constitution and Art. 1, § 14 of the North Carolina Constitution protecting free

        speech, which safeguards state employees in non-political jobs from being

        terminated due to political affiliation and activities, and as such shocks the

        conscience and risks the integrity of the SHP.

129.    The addition of the word theft in his file regarding the sale of shoes, when other

        similarly situated Troopers regularly sell shoes at Bob’s Army Navy Surplus,

        without a complete investigation, also violates Trooper Huff’s substantive due

        process rights and stigmatizes Trooper Huff, damaging his chance at future

        employment in the law enforcement field.

130.    Trooper Huff’s termination with the additional stigma of the chosen administrative

        charges levied represent a deprivation of Trooper Huff’s liberty rights in violation

        of substantive due process, as the termination and administrative charges damage

        Trooper Huff’s ability to work in the law enforcement field.

131.    Trooper Huff is informed and believes that the Supervisory Defendants and other

        officials in the DPS and SHP had contemporaneous knowledge that Trooper Huff

        was being terminated due to an order from outside the regular chain of command.

132.    A termination command from outside of the chain of command, after an

        incomplete internal investigation, is plainly obvious to a reasonable policy-maker

        as a violation of Trooper Huff’s constitutional rights.




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133.    The Supervisory Defendants knew or should have known about these actions and

        nevertheless agreed upon, or ratified by their behavior, this unconstitutional

        conduct.

134.    As a direct and foreseeable consequence of these policy decisions, Trooper Huff

        was deprived of his constitutional rights.

135.    Defendants’ wrongful termination in violation of Trooper Huff’s substantive due

        process rights is a direct and proximate cause of damage to the Plaintiff, in an

        amount in excess of $75,000, the exact amount to be determined at trial.

        D. FOURTH CLAIM FOR RELIEF: VIOLATIONS OF 42 U.S.C. §1983

136.    Plaintiff re-alleges and incorporates paragraphs 1 through 135 as if fully restated

        herein.

137.    The Supervisory Defendants, the SHP and DPS are “persons” as that term is used

        in the context of 42 U.S.C. §1983 for injunctive relief, and the Supervisory

        Defendants are “persons” in the context of 42 U.S.C. §1983, acting in their

        individual capacity, for compensatory and punitive relief.

138.    42 U.S.C. §1983 protects state employees who are dismissed for political reasons,

        pursuant to the First and Fourteenth Amendments to the U.S. Constitution.

139.    Plaintiff was hired by the SHP as a State Trooper with the full duties of a North

        Carolina State Trooper. Trooper Huff performed his duties as State Trooper as

        required.




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140.    During the performance of his job duties, Trooper Huff stopped an individual for

        suspected driving while impaired, an individual who, upon information and belief,

        donates money to the North Carolina Governor. During the stop, the individual

        told Trooper Huff that he was politically-connected and he would have Trooper

        Huff’s job if the stop continued.

141.    Trooper Huff has a duty to apprehend potential drunk drivers and charge those that

        meet the definitions of Driving While Impaired. It is the policy of the State of

        North Carolina to apprehend drunk drivers under N.C. Gen. Stat. §20-138.1 for

        impaired driving and those found guilty of driving while impaired are convicted of

        a crime. Trooper Huff did his duty in accord with his job description and public

        policy, without thought or concern about the threats of his job arising out of the

        political patronage of the offender.

142.    Trooper Huff was terminated from his position less than three weeks after he was

        threatened with his job. Trooper Huff is informed and believes his termination was

        directly related to apprehending the politically–connected intoxicated driver, not

        under the pretext provided by Defendants pertaining to the sale of shoes.

143.    Trooper Huff has been informed and believes, the decision to terminate Trooper

        Huff came from outside of the State Highway Patrol, outside of the regular chain

        of command, from the Governor’s Office to Secretary Perry’s Office.

144.    Trooper Huff has been informed and believes the SHP contacted Forsyth County

        concerning Trooper Huff’s termination, leading to the dismissal of approximately

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        one hundred (100) DWI charges written by Trooper Huff, including the

        politically-connected individual charged with DWI.

145.    Trooper Huff is informed and believes that other similarly situated troopers,

        troopers who sold state-issued shoes at Bob’s Army Navy Surplus, were not

        terminated from their positions, and in fact, received no discipline at all.

146.    Trooper Huff is informed and believes Defendants normal procedures include a

        thorough investigation of complaints against Troopers, which in this case would

        include contacting Bob’s Army Navy Surplus to confirm Troopers are selling or

        exchanging shoes and asking Troopers if they sold or exchanged shoes as well.

147.    Trooper Huff is informed and believes that his order for termination came from

        outside of the SHP, departing from normal procedure for disciplinary actions.

148.    Trooper Huff was terminated less than twenty-five days after being threatened by

        an individual Trooper Huff is informed and believes to be a contributor to the

        North Carolina Governor.

149.    The position of Trooper with the SHP is not a policy-making position, nor is

        political affiliation a reasonable or essential requirement of the job, thus qualifying

        for protection from political patronage dismissals.

150.    Trooper Huff is informed and believes the Supervisory Defendants and other

        officials in the DPS and SHP had contemporaneous knowledge that Trooper Huff

        was being terminated due to an order from outside the regular chain of command.




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151.    A termination command from outside of the chain of command, after an

        incomplete internal investigation, is plainly obvious to a reasonable policy-maker

        as a violation of Trooper Huff’s constitutional rights.

152.    The Supervisory Defendants knew or should have known about these actions and

        nevertheless agreed upon, or ratified by their behavior, this unconstitutional

        conduct.

153.    As a direct and foreseeable consequence of these policy decisions, Trooper Huff

        was deprived of his constitutional rights.

154.    Defendants’ wrongful termination in violation of Trooper Huff’s Constitutional

        rights is a direct and proximate cause of damage to the Plaintiff, in an amount in

        excess of $75,000, the exact amount to be determined at trial.

        E. FIFTH CLAIM FOR RELIEF: SUPERVISORY VIOLATIONS OF 42
           U.S.C. §1983 (AGAINST SUPERVISORY DEFENDANTS IN THEIR
                             INDIVIDUAL CAPACITY)

155.    Plaintiff re-alleges and incorporates paragraphs 1 through 154 as if fully restated

        herein.

156.    The Supervisory Defendants, acting in their individual capacity, are “persons” as

        used in the context of 42 U.S.C. §1983 for compensatory and punitive relief.

157.    42 U.S.C. §1983 protects state employees who are dismissed for political reasons,

        pursuant to the First and Fourteenth Amendments to the U.S. Constitution.

158.    In March and April of 2014, the Supervisory Defendants actively participated or

        acquiesced to an incomplete investigation regarding Trooper Huff’s sale of state-

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        issued shoes to buy higher-quality, more expensive Chukka boots; actively

        participated in or acquiesced to Trooper Huff’s termination with additional

        charges of Untruthfulness and Nonconformance to Law; and actively participated

        in or acquiesced to the entering of those charges or the description of Trooper

        Huff’s activity as theft into his employment records.

159.    The Supervisory Defendants, through an incomplete investigation and acting on

        termination orders outside of the regular chain of commence, actions or

        acquiescence to those actions have evidenced a deliberate or reckless disregard for

        Trooper Huff’s constitutional rights.

160.    As a direct and foreseeable consequence of the Supervisory Defendants’ actions,

        Trooper Huff was deprived of his constitutional rights and suffered unjust

        termination, damage to his reputation, economic loss, and can no longer work in

        law enforcement.

161.    As a further foreseeable consequence of the Supervisory Defendants’ actions,

        Trooper Huff was required to retain counsel and incur additional expenses to

        defend against the harm to his reputation.

162.    Defendants’ wrongful termination in violation of 42 U.S.C. §1983 is a direct and

        proximate cause of damage to the Plaintiff, in an amount in excess of $75,000, the

        exact amount to be determined at trial.




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       F. SIXTH CLAIM FOR RELIEF: CONSPIRACY IN VIOLATION OF 42
        U.S.C. §1983 (AGAINST ALL DEFENDANTS, AGAINST SUPERVISORY
        DEFENDANTS IN THEIR INDIVIDUAL AND OFFICIAL CAPACITIES)

163.    Plaintiff re-alleges and incorporates paragraphs 1 through 162 as if fully restated

        herein.

164.    The Supervisory Defendants, the SHP and DPS are “persons” as that term is used

        in the context of 42 U.S.C. §1983 acting in their official capacity for injunctive

        relief; and the Supervisory Defendants are “persons” in their individual capacity

        for compensatory and punitive relief.

165.    42 U.S.C. §1983 protects state employees who are dismissed for political reasons,

        pursuant to the First and Fourteenth Amendments to the U.S. Constitution.

166.    Under color of state law, Secretary Perry, Colonel Grey, Major Harris and Captain

        Cotton conspired with individuals in the Governor’s Office, and entered into

        express and/or implied agreements, understandings or meetings of the mind, to

        deprive Trooper Huff of his constitutional rights by supervising or participating in

        an incomplete internal investigation, an unjust and unreasonable termination, and

        the addition of the theft, untruthfulness and nonconformance of laws allegations to

        Trooper Huff’s employment records when Defendants knew or should have

        known this was not the same treatment similarly situated Troopers received.

167.    The Supervisory Defendants acted in bad faith and with deliberate or reckless

        disregard for Trooper Huff’s constitutional rights by adhering to a termination




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        order outside of the SHP chain of command, thus allowing a State Trooper to be

        terminated with an incomplete investigation and for political reasons.

168.    The Supervisory Defendants’ actions in terminating Trooper Huff after an

        incomplete investigation, in violation of standard practice allowing troopers to sell

        state-issued shoes without reprimand or discipline, and arising from an act of

        political patronage to a politically-connected individual violate Trooper Huff’s

        constitutional rights, and violating Trooper Huff’s constitutional rights exceeds the

        bounds of Defendants’ authority.

169.    As a direct and foreseeable consequence of this conspiracy, Trooper Huff was

        deprived of his constitutional rights and suffered unjust termination, damage to his

        reputation, economic loss, and can no longer work in law enforcement.

170.    Defendants’ wrongful termination in violation of Trooper Huff’s Constitutional

        rights is a direct and proximate cause of damage to the Plaintiff, in an amount in

        excess of $75,000, the exact amount to be determined at trial.

171.    As a further foreseeable consequence of this conspiracy, Trooper Huff was

        required to retain counsel and incur additional expenses to defend against the harm

        to his reputation.

                    G. SEVENTH CLAIM FOR RELIEF:
        WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY

172.    Plaintiff re-alleges and incorporates paragraphs 1 through 171 as if fully restated

        herein.


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173.    Plaintiff was hired by the SHP as a State Trooper with the full duties of a North

        Carolina State Trooper. Trooper Huff performed his duties as State Trooper as

        required.

174.    Defendants have argued in prior administrative hearings that Trooper Huff did not

        meet the requirements for career state employee, alleging Trooper Huff was an at-

        will employee.

175.    Plaintiff did have a minor rule infraction regarding the sale of shoes on the

        internet, but was assured that he would not get in serious trouble for the infraction,

        possibly a letter of reprimand.

176.    Trooper Huff is informed and believes that other Troopers have sold their state-

        issued shoes and continued to do so through at least June of 2014, at Bob’s Army

        Navy Surplus, and have not been disciplined for misconduct arising from the sale.

177.    Even after being informed of the unwritten policy in the internal investigation,

        Defendants did not investigate Trooper Huff’s claims, as Trooper Huff is informed

        and believes no one in Internal Affairs contacted Bob’s Army Navy Surplus to

        confirm that Troopers were exchanging state-issued shoes, nor is there any

        evidence Internal Affairs questioned any other Trooper as to whether they sold

        shoes to Bob’s Army Navy Surplus.

178.    Trooper Huff was not suspended from the SHP after his interview with Internal

        Affairs, and continued working as a State Trooper up until his termination.




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179.    During the performance of his job duties, Trooper Huff stopped an individual for

        suspected driving while impaired, an individual who, upon information and belief,

        donates money to the North Carolina Governor. During the stop, the individual

        told Trooper Huff that he was politically connected and he would have Trooper

        Huff’s job if he was charged with a DUI.

180.    Trooper Huff has a duty to apprehend potential drunk drivers and charge those that

        meet the definitions of Driving While Impaired. It is the policy of the State of

        North Carolina to apprehend drunk drivers under N.C. Gen. Stat. §20-138.1 for

        impaired driving and those found guilty of driving while impaired are convicted of

        a crime. Trooper Huff did his duty in accord with his job description and public

        policy, without thought or concern about the threats of his job arising out of the

        political patronage of the offender.

181.    Trooper Huff was in fact fired, less than three weeks after he was threatened with

        his job. Trooper Huff is informed and believes his termination was for performing

        his duty in apprehending the politically –connected intoxicated driver, not under

        the pretext given of the three (3) charges asserted by the Defendants.

182.    Trooper Huff has been informed and believes, the decision to terminate Trooper

        Huff came from outside of the State Highway Patrol, outside of the regular chain

        of command and outside of normal disciplinary procedure, from the Governor’s

        Office through Secretary Perry.




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183.    Trooper Huff has been informed and believes the SHP contacted Forsyth County

        concerning Trooper Huff’s termination, leading to the dismissal of approximately

        one hundred (100) charges written by Trooper Huff, including the politically

        connected individual charged with DWI.

184.    Trooper Huff’s termination was done in violation of valid public policy, in that

        terminating law enforcement officers for performing their job duties, such as

        stopping drunk drivers involving politically connected individuals, threatens the

        safety and health of the public. Law enforcement officers should not be in fear of

        their jobs when apprehending those that violate the law, even those with power or

        political connections.

185.    Trooper Huff’s termination, and the resulting dismissal of the approximate one

        hundred charges pending in Forsyth County, is in violation of valid public policy,

        as the State must ensure the integrity of the judicial process and enforcement of

        the law.

186.    Trooper Huff’s termination, after an incomplete investigation, on demand from a

        politically-connected individual, is in violation of North Carolina public policy

        against wrongful or retaliatory discharge of at-will employees.

187.    Trooper Huff’s termination is in violation of public policy disfavoring coercion of

        a state employee based upon political affiliation, as well as the First Amendment

        of the United States Constitution and Art. 1, § 14 of the North Carolina




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         Constitution protecting free speech, which safeguards state employees in non-

         political jobs from being terminated due to political affiliation and activities.

188.     Defendants’ wrongful termination in violation of public policy is a direct and

         proximate cause of damage to the Plaintiff, in an amount in excess of $75,000, the

         exact amount to be determined at trial.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests the Court grant the following to the

         Plaintiff:

   a.           A trial by jury on all issues so triable;

   b.           the issuance of an Order and Permanent Injunction (“Permanent

                Injunction”) enjoining Defendants from terminating SHP Troopers for

                political patronage in violation of the Constitution;

   c.           reinstatement of Plaintiff’s position as a North Carolina State Trooper, with

                seniority and benefits he would have earned during the time missed,

                including back-pay for wages, with interest;

   d.           damages in an amount to be established at trial against defendants in their

                individual capacity as compensation for constitutional deprivations, past

                economic loss, loss of reputation, and expenses in administrative

                procedures sustained as a result of Defendants’ unlawful conduct ; charged

                jointly and severally upon the Defendants;




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   e.         damages in an amount to be established at trial to punish Defendants acting

              in their individual capacity for the arbitrary and capricious, unjust and

              unlawful conduct that recklessly and callously disregarded Plaintiff’s

              constitutional rights, to discourage Defendants from engaging in similar

              conduct in the future, and to deter others similarly situated from engaging

              in similar misconduct;

   f.         the cost of this action be taxed against the Defendants;

   g.         an award of reasonable attorneys’ fees pursuant to 42 U.S.C. §1988(b);

   h.         Such other and further relief the Court deems just and proper.



This the 21st day of July, 2015.



                                       Respectfully submitted,


                                       RANDOLPH M. JAMES, P.C.


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